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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division



     UNITED STATES OF AMERICA,
           v.                                                 Case No. 1:19-CR-201


     GEORGE AREF NADER,                                       The Honorable Judge Brinkema


                               Defendant.


              MOTION TO SEAL AND MEMORANDUM IN SUPPORT OF SAME

         Pursuant to Local Criminal Rule 49(E), defendant, George Nader, through counsel, moves

for an order permitting the defense to file under seal portions of Mr. Nader’s Objections to the

Presentence Report and Memorandum in Aid of Sentencing and the exhibit (Dr. Fred Berlin’s

report based on his psychiatric evaluation of Mr. Nader) filed with this Court on June 22, 2020. A

proposed order is attached for the consideration of the Court.1 In support of this motion, the

defense further states:

I.       Item to be Filed Under Seal, and Necessity for Sealing

         A.     Mr. Nader asks the Court to seal portions of the Memorandum in Aid of Sentencing

and Objections to the Presentence Investigation Report and the exhibit, which pertain to personal,

medical and mental health material, privileged material, and which refer to material that is under



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 The document to be filed under seal will be filed with the Court non-electronically pursuant to
Local Criminal Rule 49(E) and the Electronic Case Filing Policies and Procedures (see p. 21).
Pursuant to the Local Rules, the sealed document is to be treated as sealed pending the outcome
of this motion.
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a protective order. The defense has endeavored to seal only the minimum necessary portion of its

Objections to the Presentence Report and Memorandum in Aid of Sentencing and will file a

redacted version on the public docket.

       B.      Filing the motion partially under seal and the exhibit (Dr. Fred Berlin’s psychiatric

evaluation of Mr. Nader) entirely under seal is necessary because the motion contains discussion

of privileged material and material that is under a protective order and the exhibit contains

substantial discussion of confidential and sensitive medical and mental health information

pertaining to Mr. Nader, his family, and third parties.

       C.      Counsel for Mr. Nader has considered procedures other than filing under seal and

none will suffice to protect disclosure of this confidential information.

       II.     Previous Court Decisions Which Concern Sealing Documents

       The Court has the inherent power to seal materials submitted to it. See United States v.

Wuagneux, 683 F.2d 1343, 1351 (11th Cir. 1982); State of Arizona v. Maypenny, 672 F.2d 761,

765 (9th Cir. 1982); Times Mirror Company v. United States, 873 F.2d 1210 (9th Cir. 1989); see

also Shea v. Gabriel, 520 F.2d 879 (1st Cir. 1975); United States v. Hubbard, 650 F.2d 293 (D.C.

Cir. 1980); In re Braughton, 520 F.2d 765, 766 (9th Cir. 1975). “The trial court has supervisory

power over its own records and may, in its discretion, seal documents if the public’s right of access

is outweighed by competing interests.” In re Knight Pub. Co., 743 F.2d 231, 235 (4th Cir. 1984).

III.   Period of Time to Have the Document Under Seal

       The materials to be filed under seal would need to remain sealed permanently.

       Accordingly, Mr. Nader respectfully requests that this Court enter an order allowing the

defense to file under seal portions of Mr. Nader’s Objections to the Presentence Report and

Memorandum in Aid of Sentencing and to seal the exhibit, Dr. Fred Berlin’s report.

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Dated: June 22, 2020                     Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 22, 2020, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which will then send a notification of such filing to counsel
of record.


                                                      /s/ Jonathan S. Jeffress__
                                                      Jonathan S. Jeffress




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